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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                              )
In re:                                        )        Chapter 11
                                              )
PQ New York, Inc.,                            )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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33rd Street Bakery, Inc.,                     )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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Florence Bakery, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ 14th & K Street, Inc.,                    )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ 205 Bleecker, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ 85 Broad, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Aventura, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Cabin John, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Claremont, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Coconut Grove, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Garden City, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ King & Hudson, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ N. Wells St, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Naperville, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ North Michigan, Inc.,                     )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Pasadena, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Reston, Inc.,                             )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Sailboat Pond, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ South End Ave, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ South Gayley, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ South Lasalle, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Toluca Lake, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ West 55th & 8th St, Inc.,                 )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Woodbury, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 17th Street, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 44th & Madison, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 44th Street, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 53rd Street, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 550 Hudson, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 55th & 1st, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 6th & Olive, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 6th Ave., Inc.,                            )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 8th & Walnut, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 8th Street, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 933 Broadway, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 97th Street, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Alexandria, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Americana, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Bakery, LLC,                               )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Battery Park, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Bethesda, Inc.,                            )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Beverly Hills, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Blaine Mansion, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Bleecker, Inc.,                            )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Brentwood, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Bryant Park, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Calabasas, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Capitol Hill, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Carnegie Hill, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Carroll Square, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Central Park, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Chelsea, Inc.,                             )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Chevy Chase, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Clarendon, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Culver Plaza, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ East 65th St, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ East 77th, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ East 83rd St, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Encino Bakery, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ First Inc.,                                )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ French Market, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Georgetown, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Gold Coast, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Granary, Inc.,                             )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Greenwich, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Harbor Point, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Larchmont, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Lexington, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Lincoln Park, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Lincoln Square, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Manhattan Beach, Inc.,                     )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Meatpacking District, Inc.,                )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Melrose, Inc.,                             )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Merrifield, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Mineral Springs, Inc.,                     )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Montague, Inc.,                            )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Mt. Vernon, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ New Canaan, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Newport Beach Bakery, Inc.,                )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Operations, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Park & 33rd, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Park Slope, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Robertson, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Rye, Inc.,                                 )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ San Vicente, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Santa Monica, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Soho, LLC,                                 )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Spring Valley, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Studio City, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ The Village at Topanga, Inc.,              )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Tribeca, Inc.,                             )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Tysons Corner, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ UN, Inc.,                                  )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Union Square, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Union Station, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Upper West, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Villa Marina, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Walnut Street, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Wayne, Inc.,                               )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ West 72nd, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ West 84th, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Westlake, Inc.,                            )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Wildwood, Inc.,                            )        Case No. 20-[●] ([●])
                                              )
                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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Tuxedo Bakery, Inc.,                          )        Case No. 20-[●] ([●])
                                              )
                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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                                                           )
In re:                                                     )           Chapter 11
                                                           )
Walnut St. Bakery, Inc.,                                   )           Case No. 20-[●] ([●])
                                                           )
                   Debtor.                                 )
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Tax I.D. No. XX-XXXXXXX                                    )
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              MOTION OF DEBTORS FOR ENTRY OF AN ORDER DIRECTING
                   JOINT ADMINISTRATION OF CHAPTER 11 CASES

         PQ New York, Inc. (“PQ NY”) and certain of its affiliates that are debtors and debtors in

possession (each a “Debtor” and collectively, the “Debtors”) in the above-captioned chapter 11

cases (the “Chapter 11 Cases”) hereby file this motion (this “Motion”) for entry of an order,

under rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

rule 1015-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), directing joint administration

of the Chapter 11 Cases for procedural purposes only and granting related relief. This Motion is

supported by the Declaration of Steven J. Fleming in Support of Debtors’ Chapter 11 Petitions

and First Day Motions (the “First Day Declaration”) filed concurrently herewith.1 In further

support of this Motion, the Debtors respectfully state as follows:

                                      JURISDICTION AND VENUE

         1.        The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated February 29, 2012. Venue of the Chapter 11 Cases and

related proceedings is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.



         1
           Capitalized terms used, but not defined, herein shall have the respective meanings ascribed to such terms
in the First Day Declaration.
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         2.        This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2) and,

pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a final order by the Court in

connection with this Motion to the extent that it is later determined that the Court, absent consent

of the parties, cannot enter final orders or judgments consistent with Article III of the United

States Constitution.

                                              BACKGROUND

         3.        On the date hereof (the “Petition Date”), the Debtors filed voluntary petitions in

this Court commencing the Chapter 11 Cases under Title 11 of the United States Code, 11 U.S.C.

§§ 101-1532, et. seq. (the “Bankruptcy Code”). The Debtors have continued in possession of

their property and have continued to operate and manage their businesses as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         4.        No request has been made for the appointment of a trustee or examiner, and no

official committee has been appointed in the Chapter 11 Cases.

         5.        The Debtors are headquartered in New York and, prior to the COVID-19

outbreak, operated 98 restaurants in the United States under the trade name Le Pain Quotidien.

Prior to the Petition Date, the Debtors were forced to shutter all locations and terminate

substantially all of their employees due to the circumstances surrounding the COVID-19

pandemic. The purpose of these Chapter 11 Cases is to consummate a going-concern sale

transaction (the “Sale”) of substantially all of the Debtors’ assets to LPQ USA, LLC, an affiliate

of Aurify Brands, LLC (the “Purchaser”), in a transaction that will provide for the reopening of

no fewer than thirty-five (35) restaurant locations,2 create approximately 1,000 jobs, provide for



         2
           The Purchaser is very interested in reaching consensual agreements with as many of the Debtors’
landlords as possible on renegotiated lease terms. In that regard, the Debtors’ landlords are encouraged to contact
the Purchaser’s counsel, Katten Muchin Rosenman LLP, Steven Reisman (sreisman@katten.com, (212) 940-8700)
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the re-employment of a number of the Debtors’ former employees, and continue to serve the

Debtors’ loyal customers. The proposed Sale enables the Debtors to avoid what otherwise would

have been a complete liquidation, thereby maintaining a go-forward business partner and tenant

for certain of the Debtors’ vendors and landlords, respectively.

         6.        Additional information about the Debtors’ businesses and affairs, capital structure

and prepetition indebtedness and the events leading up to the Petition Date can be found in the

First Day Declaration, which is incorporated herein by reference.

                                          RELIEF REQUESTED

         7.        By this Motion, and pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1,

the Debtors seek entry of an order (the “Proposed Order”) directing the joint administration of

the Chapter 11 Cases for procedural purposes only. Specifically, the Debtors request that the

Court maintain one file and one docket for all of the Chapter 11 Cases under the case of PQ NY,

and that the Chapter 11 Cases be administered under a consolidated caption, as follows:

                   IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE
_________________________________________
                                            )
In re:                                      )    Chapter 11
                                            )
PQ New York, Inc., et al.,                  )    Case No. 20-[●] ([●])
                                            )
            Debtors.                        )    (Jointly Administered)
                                            )
_________________________________________ )


         8.        The Debtors also propose to include the following footnote in each pleading filed

and notice mailed by the Debtors, providing a reference to the lead Debtor in the Chapter 11

Cases (i.e., PQ NY), the last four digits of its tax identification number, and its address:

and/or Cindi Giglio (cgiglio@katten.com, (212) 940-3828) should they wish to engage in discussions to enter into a
new lease agreement with the Purchaser.
                                                       24
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         The last four digits of PQ New York, Inc.’s federal tax identification number are
         1022. The mailing address for the debtors is 50 Broad Street, New York, New
         York 10004. Due to the large number of debtors in these chapter 11 cases, for
         which the debtors have requested joint administration, a complete list of the
         debtors and the last four digits of their federal tax identification numbers is not
         provided herein. A complete list of such information may be obtained on the
         website of the debtors’ proposed claims and noticing agent at
         www.donlinrecano.com/pqny.

         9.        The Debtors also request that a docket entry, substantially similar to the

following, be entered on the docket in each of the Chapter 11 Cases (other than the Chapter 11

Case of PQ NY) to reflect the joint administration of the Chapter 11 Cases:

         An order has been entered in this case consolidating this case with the case of PQ
         New York, Inc. (Case No. 20-[●] ([●])) for procedural purposes only and
         providing for its joint administration in accordance with the terms hereof. The
         docket in Case No. 20-[●] ([●]) should be consulted for all matters affecting this
         case.

         10.       In addition, the Debtors request that the Court waive the requirement of section

342(c)(1) of the Bankruptcy Code and Bankruptcy Rule 2002(n) for the inclusion of the Debtors’

full tax identification numbers in the captions for the Debtors’ filings with the Court and notices

sent to creditors.

                                         BASIS FOR RELIEF

         11.       Bankruptcy Rule 1015(b) provides, in relevant part, that if “two or more petitions

are pending in the same court by or against . . . a debtor and an affiliate, the court may order a

joint administration of the estates.” The Debtors are “affiliates” as that term is defined under

section 101(2) of the Bankruptcy Code. Accordingly, the Court is authorized to grant the

requested relief by virtue of the fact that PQ NY is an affiliate of each of the other Debtors.

Local Rule 1015-1 provides additional authority for the Court to order joint administration of the

Chapter 11 Cases, stating that “[a]n order of joint administration may be entered, without notice



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and an opportunity for hearing, upon the filing of a motion for joint administration . . . .” Del.

Bankr. L.R. 1015-1.

         12.       On the date hereof, the Debtors commenced the 105 Chapter 11 Cases referenced

above by filing petitions for voluntary relief with the Court. Given the provisions of the

Bankruptcy Rules and the Local Rules and the Debtors’ affiliation, joint administration of the

Chapter 11 Cases is warranted and will provide significant administrative convenience without

harming the substantive rights of any party in interest. Joint administration will avoid the

preparation, replication, service and filing, as applicable, of duplicative notices, applications and

orders, thereby saving the Debtors considerable expense and resources. The Debtors’ financial

affairs and business operations are closely related. Many of the motions, hearings and orders in

the Chapter 11 Cases will affect each Debtor and its respective estate. The rights of creditors

will not be adversely affected, as this Motion requests only administrative, and not substantive,

consolidation of the estates. Moreover, each creditor can still file its claim against a particular

estate. In fact, all creditors will benefit by the reduced costs that will result from the joint

administration of the Chapter 11 Cases. The Court also will be relieved of the burden of entering

duplicative orders and maintaining duplicative files. Finally, supervision of the administrative

aspects of the Chapter 11 Cases by the Office of the United States Trustee for the District of

Delaware (the “U.S. Trustee”) will be simplified.

         13.       Furthermore, given the voluminous number of Debtors, it is appropriate to waive

the requirement of section 342(c)(1) of the Bankruptcy Code and Bankruptcy Rule 2002(n) for

the inclusion of the Debtors’ full tax identification numbers in the captions for the Debtors’

filings with the Court and notices sent to creditors.3 This information is available on all of the


         3
         Indeed, in other jointly administered cases involving a large numbers of debtors, courts in this District
have approved case captions that do not list the name, address and last 4 digits of each debtor’s taxpayer
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Debtors’ chapter 11 petitions. Waiver of this requirement is purely procedural in nature and will

ease the administrative burden on the Debtors.

         14.       Similar relief to that requested in this Motion is routinely approved by bankruptcy

courts in this jurisdiction under similar circumstances and generally is non-controversial. See,

e.g., In re RentPath Holdings, Inc., Case No. 20-10312 (BLS) (Bankr. D. Del. Feb. 13, 2020); In

re Bumble Bee Parent, Inc., Case No. 19-12502 (LSS) (Bankr. D. Del. Nov. 22, 2019); In re

Forever 21, Inc., Case No. 19-12122 (KG) (Bankr. D. Del. Oct. 1, 2019); In re VER

Technologies Holdco LLC, Case No. 18-10834 (KG) (Bankr. D. Del. Apr. 6, 2018).

                                                 NOTICE

         15.       The Debtors will serve notice of this Motion upon: (i) the U.S. Trustee; (ii) the

Debtors’ consolidated list of creditors holding the twenty largest unsecured claims; (iii) counsel

to the Purchaser; (iv) the Internal Revenue Service; (v) the United States Attorney’s Office for

the District of Delaware; and (vi) all parties entitled to notice pursuant to Local Rule 9013-1(m).

In light of the nature of the relief requested, the Debtors submit that no other or further notice is

necessary.

                                        NO PRIOR REQUEST

         16.       No prior application for the relief requested herein has been made to this or any

other court.




identification number in the caption, and have found such case captions to be appropriate. See, e.g., In re
Woodbridge Group of Companies, LLC, No. 17-12560 (KJC) (Bankr. D. Del. Dec. 5, 2017); In re Energy Future
Holdings Corp., No. 14-10979 (CSS) (Bankr. D. Del. June 5, 2014); In re DSI Holdings, Inc., No. 11-11941 (KJC)
(Bankr. D. Del. June 28, 2011).
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         WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

such other and further relief as the Court deems just and proper.

Dated: May 27, 2020
       Wilmington, Delaware
                                         /s/ Brendan J. Schlauch
                                         RICHARDS, LAYTON & FINGER, P.A.
                                         Mark D. Collins (No. 2981)
                                         Michael J. Merchant (No. 3854)
                                         Jason M. Madron (No. 4431)
                                         Brendan J. Schlauch (No. 6115)
                                         One Rodney Square
                                         920 North King Street
                                         Wilmington, Delaware 19801
                                         Telephone: (302) 651-7700
                                         Facsimile: (302) 651-7701

                                          Proposed Counsel to the Debtors
                                          and Debtors in Possession




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                                       EXHIBIT A

                                     Proposed Order




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                              )
In re:                                        )        Chapter 11
                                              )
PQ New York, Inc.,                            )        Case No. 20-[●] ([●])
                                              )
                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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33rd Street Bakery, Inc.,                     )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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Florence Bakery, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ 14th & K Street, Inc.,                    )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ 205 Bleecker, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ 85 Broad, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Aventura, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Cabin John, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Claremont, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Coconut Grove, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Garden City, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ King & Hudson, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ N. Wells St, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Naperville, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ North Michigan, Inc.,                     )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Pasadena, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Reston, Inc.,                             )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Sailboat Pond, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ South End Ave, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ South Gayley, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ South Lasalle, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Toluca Lake, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ West 55th & 8th St, Inc.,                 )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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LPQ Woodbury, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 17th Street, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 44th & Madison, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 44th Street, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 53rd Street, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 550 Hudson, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 55th & 1st, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 6th & Olive, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 6th Ave., Inc.,                            )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 8th & Walnut, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 8th Street, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 933 Broadway, Inc.,                        )        Case No. 20-[●] ([●])
                                              )
                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ 97th Street, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Alexandria, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Americana, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Bakery, LLC,                               )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Battery Park, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Bethesda, Inc.,                            )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Beverly Hills, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Blaine Mansion, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Bleecker, Inc.,                            )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Brentwood, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Bryant Park, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Calabasas, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Capitol Hill, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Carnegie Hill, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Carroll Square, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Central Park, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Chelsea, Inc.,                             )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Chevy Chase, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Clarendon, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Culver Plaza, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ East 65th St, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ East 77th, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ East 83rd St, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Encino Bakery, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ First Inc.,                                )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ French Market, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Georgetown, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Gold Coast, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Granary, Inc.,                             )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Greenwich, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Harbor Point, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Larchmont, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Lexington, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Lincoln Park, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Lincoln Square, Inc.,                      )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Manhattan Beach, Inc.,                     )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Meatpacking District, Inc.,                )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Melrose, Inc.,                             )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Merrifield, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Mineral Springs, Inc.,                     )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Montague, Inc.,                            )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Mt. Vernon, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ New Canaan, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Newport Beach Bakery, Inc.,                )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Operations, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Park & 33rd, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Park Slope, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Robertson, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Rye, Inc.,                                 )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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                                              )
In re:                                        )        Chapter 11
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PQ San Vicente, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Santa Monica, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Soho, LLC,                                 )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Spring Valley, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Studio City, Inc.,                         )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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                                              )
In re:                                        )        Chapter 11
                                              )
PQ The Village at Topanga, Inc.,              )        Case No. 20-[●] ([●])
                                              )
                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Tribeca, Inc.,                             )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Tysons Corner, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ UN, Inc.,                                  )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Union Square, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Union Station, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Upper West, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Villa Marina, Inc.,                        )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Walnut Street, Inc.,                       )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Wayne, Inc.,                               )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ West 72nd, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ West 84th, Inc.,                           )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Westlake, Inc.,                            )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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PQ Wildwood, Inc.,                            )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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In re:                                        )        Chapter 11
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Tuxedo Bakery, Inc.,                          )        Case No. 20-[●] ([●])
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                   Debtor.                    )
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Tax I.D. No. XX-XXXXXXX                       )
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                                                        )
In re:                                                  )           Chapter 11
                                                        )
Walnut St. Bakery, Inc.,                                )           Case No. 20-[●] ([●])
                                                        )
                   Debtor.                              )
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Tax I.D. No. XX-XXXXXXX                                 )
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         ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

         Upon the motion (the “Motion”)1 of PQ New York, Inc. (“PQ NY”) and certain of its

affiliates that are debtors and debtors in possession (collectively, the “Debtors”) in the above-

captioned chapter 11 cases (the “Chapter 11 Cases”) for entry of an order, pursuant to

Bankruptcy Rule 1015(b) and Local Rule 1015-1, directing the joint administration of the

Chapter 11 Cases for procedural purposes only, as more fully described in the Motion; and the

Court having jurisdiction to consider the matters raised in the Motion pursuant to 28 U.S.C.

§ 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012; and the Court having authority to hear the

matters raised in the Motion pursuant to 28 U.S.C. § 157; and the Court having venue pursuant to

28 U.S.C. §§ 1408 and 1409; and consideration of the Motion and the requested relief being a

core proceeding that the Court can determine pursuant to 28 U.S.C. § 157(b)(2); and due and

proper notice of the Motion having been given to the parties listed therein, and it appearing that

no other or further notice need be provided; and the Court having reviewed and considered the

Motion and the First Day Declaration; and the Court having held a hearing on the Motion; and

the Court having determined that the legal and factual bases set forth in the Motion and at the

hearing establish just cause for the relief granted herein; and the Court having found that the

         1
          Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to
such terms in the Motion.
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relief requested in the Motion being in the best interests of the Debtors, their creditors, their

estates and all other parties in interest; and upon all of the proceedings had before the Court; and

after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

         1.        The Motion is granted as set forth herein.

         2.        The Chapter 11 Cases are consolidated for procedural purposes only and shall be

jointly administered by the Court under Case No Case No. 20-[●] ([●]).

         3.        Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise affecting the substantive consolidation of any of the Chapter 11 Cases, the

Debtors or the Debtors’ estates.

         4.        The caption of the jointly administered Chapter 11 Cases shall read as follows:

                   IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE
_________________________________________
                                             )
In re:                                       )    Chapter 11
                                             )
PQ New York, Inc., et al.,1                  )    Case No. 20-[●] ([●])
                                             )
            Debtors.                         )    (Jointly Administered)
                                             )
_________________________________________ )


          1
            The last four digits of PQ New York, Inc.’s federal tax identification number are 1022. The
mailing address for the debtors is 50 Broad Street, New York, New York 10004. Due to the large number
of debtors in these chapter 11 cases, for which the debtors have requested joint administration, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided herein.
A complete list of such information may be obtained on the website of the debtors’ proposed claims and
noticing agent at www.donlinrecano.com/pqny.




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         5.        The foregoing caption satisfies the requirements of section 342(c)(l) of the

Bankruptcy Code.

         6.        All pleadings and notices shall be captioned as indicated in the preceding

paragraph, and all original docket entries shall be made in the case of PQ New York, Inc., Case

No. 20-[●] ([●]) .

         7.        A docket entry shall be made in each of the Chapter 11 Cases (other than the

Chapter 11 Case of PQ NY) substantially as follows:

         An order has been entered in this case consolidating this case with the case of PQ
         New York, Inc. (Case No. 20-[●] ([●])) for procedural purposes only and
         providing for its joint administration in accordance with the terms hereof. The
         docket in Case No. 20-[●] ([●]) should be consulted for all matters affecting this
         case.

         8.        The Debtors and the Clerk of the Court are hereby authorized to take such actions

and to execute such documents as may be necessary to implement the relief granted by this

Order.

         9.        The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         10.       This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation and/or interpretation of this Order.




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